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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXANDER CORDERO,                    )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
VENUS INVESTMENTS LLC,                )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned counsel, and files this, his Complaint against Defendant VENUS

INVESTMENTS LLC pursuant to the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part

36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.


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      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division, as the parcel of real property at issue in this case is

located in Gwinnett County, Georgia, and Defendant maintains its registered agent

for service of process in Gwinnett County, Georgia.

                                      PARTIES

      3.     Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

      4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant VENUS INVESTMENTS LLC (hereinafter “Defendant”)

is a Georgia limited liability company that transacts business in the state of

Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Shoukat Hajiyani, 1185 Old Peachtree Road, Suwanee,

Georgia, 30024.


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                            FACTUAL ALLEGATIONS

      9.       On or about February 3, 2022, Plaintiff was a customer at “Big

Daddy's BP,” a business located at 1185 Old Peachtree Road, Suwanee, Georgia

30024.

      10.      On or about April 4, 2022, Plaintiff attempted to be a customer at “La

Mixteca Tamale House,” a business that is also located 1185 Old Peachtree Road,

Suwanee, Georgia 30024 but was unable to do so due to the violations of the ADA

and ADAAG that are set forth in this Complaint.

      11.      Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous, multi-tenant

structure and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).

      12.      Plaintiff lives approximately six (6) miles from the Facility and

Property.

      13.      Plaintiff’s access to the businesses located 1185 Old Peachtree Road,

Suwanee, Georgia 30024 (also referenced by Gwinnett County Property

Appraiser’s parcel number R7123 028), and/or full and equal enjoyment of the

goods,     services,   foods,   drinks,   facilities,   privileges,   advantages   and/or


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accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

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years from its enactment to implement its requirements.

      19.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.   The Facility is a public accommodation and service establishment.

      21.   The Property is a public accommodation and service establishment.

      22.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.   The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.   The Property must be, but is not, in compliance with the ADA and


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ADAAG.

      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with


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disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The Property lacks an accessible route connecting accessible

             facilities, accessible elements and/or tenant spaces of the

             Facility, in violation of section 206.2.2 of the 2010 ADAAG

             standards. Said accessible route is obstructed by multiple ice


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        chests and multiple propane tank storage units.

(ii)    The accessible parking space on the Property most proximate to

        the “La Mixteca” portion of the Facility is missing proper

        identification signage, in violation of section 502.6 of the 2010

        ADAAG standards.

(iii)   The above-described accessible parking space is not located on

        the shortest accessible route to the accessible entrance of the

        “La Mixteca” portion of the Facility, in violation of section

        208.3.1 of the 2010 ADAAG standards.

(iv)    The accessible parking space on the Property most proximate to

        the “La Mixteca” portion of the Facility is not adequately

        marked, in violation of section 502.1 of the 2010 ADAAG

        standards.

(v)     The access aisle adjacent to the accessible parking space on the

        Property most proximate to the “La Mixteca” portion of the

        Facility is not level due to the presence of a ramp (“Ramp #1”)

        within the boundaries of said access aisle, in violation of

        section 502.4 of the 2010 ADAAG standards.

(vi)    There are excessive vertical rises at the base of Ramp #1, in


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      violation of section 405.7 of the 2010 ADAAG standards.

      Ramp #1 also has a running slope exceeding 1:12 (one to

      twelve), in violation of section 405.2 of the 2010 ADAAG

      standards, and the slopes of its side flares are in excess of 1:10

      (one to ten), in violation of section 406.3 of the 2010 ADAAG

      standards.

(vii) There is an additional ramp (“Ramp #2”) closer to the

      accessible entrance of the “La Mixteca” portion of the Facility,

      however, this ramp is entirely inaccessible when cars are parked

      in the standard parking space adjacent to it, in violation of

      sections 403.5.1 and 502.7 of the 2010 ADAAG regulations.

      Further, the running slope of Ramp #2 is greater than 1:12 (one

      to twelve), in violation of section 405.2 of the 2010 ADAAG

      standards, and it lacks finished edges (or edge protection), in

      violation of section 405.9 of the 2010 ADAAG standards.

(viii) The interior of the “Big Daddy BP” portion of the Facility has

      sales and services counters lacking any portion of which that

      has a maximum height of 36” (thirty-six inches) from the

      finished floor, in violation of section 904.4 of the 2010


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             ADAAG standards.

      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to conduct his business within the “Big Daddy

BP” portion of the Facility, and rendered the “La Mixteca” portion of the Facility

inaccessible to Plaintiff.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.     All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily


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achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to


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grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: April 8, 2022.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
                                      The Law Office of Craig J. Ehrlich, LLC
                                      1123 Zonolite Road, N.E., Suite 7-B
                                      Atlanta, Georgia 30306

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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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